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                              No. 23-10362

                United States Court of Appeals
                     for the Fifth Circuit
ALLIANCE FOR HIPPOCRATIC MEDICINE; AMERICAN ASSOCIATION OF PRO-LIFE
OBSTETRICIANS & GYNECOLOGISTS; AMERICAN COLLEGE OF PEDIATRICIANS;
CHRISTIAN MEDICAL & DENTAL ASSOCIATIONS; SHAUN JESTER, D.O.; REGINA
  FROST-CLARK, M.D.; TYLER JOHNSON, D.O.; GEORGE DELGADO, M.D.,
                                         Plaintiffs-Appellees,
                                    v.
  U.S. FOOD & DRUG ADMINISTRATION; ROBERT M. CALIFF, M.D.; JANET
WOODCOCK, M.D.; PATRIZIA CAVAZZONI, M.D.; U.S. DEPARTMENT OF HEALTH
               AND HUMAN SERVICES; XAVIER BECERRA,
                                         Defendants-Appellants,
                                    v.
                     DANCO LABORATORIES, L.L.C.,
                                         Intervenor-Appellant.

            On Appeal from the United States District Court
                    for the Northern District of Texas
                 BRIEF FOR AMICI CURIAE
             NATIONAL ASSOCIATION OF NURSE
         PRACTITIONERS IN WOMEN’S HEALTH AND
         AMERICAN COLLEGE OF NURSE-MIDWIVES
       IN SUPPORT OF APPELLANTS AND OF VACATUR
           OF PRELIMINARY INJUNCTION ORDER
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       STATEMENT OF INTERESTED PERSONS (5TH CIR. R. 29.2)
      No persons or entities other than the National Association of Nurse

Practitioners in Women’s Health and the American College of Nurse-Midwives

have an interest in this amicus brief requiring disclosure.

                                               Respectfully Submitted,

                                                /s/ Simona G. Strauss
                                               Simona G. Strauss
                                               Counsel for Amici Curiae National
                                               Association of Nurse Practitioners in
                                               Women’s Health and American
                                               College of Nurse-Midwives




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                         INTEREST OF AMICI CURIAE
      Amicus curiae National Association of Nurse Practitioners in Women’s

Health (“NPWH”) is the national professional association for women’s health

nurse practitioners and advanced practice registered nurses who provide women’s

and gender-related health care. NPWH sets a standard of excellence by translating

and promoting the latest women’s health care research and evidence-based clinical

guidance, providing high quality continuing education, and advocating for patients,

providers, and the women’s health nurse practitioner profession. NPWH’s mission

includes protecting and promoting women’s and all individuals’ rights to make

their own choices regarding their health and well-being within the context of their

lived experience and their personal, religious, cultural, and family beliefs.

      Amicus curiae American College of Nurse-Midwives (“ACNM”) is the

professional association that represents certified nurse-midwives and certified

midwives in the United States. ACNM sets the standard for excellence in

midwifery education and practice in the United States and strengthens the capacity

of midwives in developing countries. Members of ACNM are primary care

providers for women throughout their lifespans, with a special emphasis on

pregnancy, childbirth, and gynecologic and reproductive health. ACNM’s mission

is to support midwives, advance the practice of midwifery, and achieve optimal,




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equitable health outcomes for the people and communities midwives serve through

inclusion, advocacy, education, leadership development, and research.

      Amici are interested in this matter because they care deeply about not only

the advanced practice clinicians (“APCs”) they represent, but also the well-being

of the women served by the APCs. Amici have extensive experience providing

reproductive health care, including aspiration and medication abortion, which they

have been doing for many years. Amici highlight the overwhelmingly positive

outcomes for the hundreds of thousands of women treated by APCs in reproductive

health each year. Amici have an interest in dispelling the misinformed assumption,

seemingly shared by Appellees and the court below, that women have more

favorable health outcomes when any medication abortion care they may receive is

provided by physicians rather than APCs.1

                         SUMMARY OF ARGUMENT
      Mifepristone is an essential component of the safe and effective provision of

reproductive health care and has been used regularly by health care providers




1
      Pursuant to Federal Rule of Appellate Procedure 29, counsel for Amici
      NPWH and ACNM certify that no party’s counsel authored this brief in
      whole or in part; no party or party’s counsel contributed money that was
      intended to fund preparing or submitting this brief; and no person or entity,
      other than NPWH, ACNM, or their counsel, contributed money intended to
      fund the preparation or submission of this brief. All parties have consented
      to Amici filing this brief.

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nationwide for more than two decades. Advanced practice clinicians have safely

prescribed mifepristone under physician supervision since 2000 and, since the

Food & Drug Administration’s (“FDA”) 2016 regulatory change, have regularly

prescribed the medication independently, where permitted to do so by state law.

      Despite the overwhelming evidence that APCs have been independently,

effectively, and safely prescribing mifepristone for years, the stay decision issued

by a panel of this Court would have prohibited APCs from prescribing this

medication as part of their independent scope of practice—and the district court’s

preliminary injunction order would prevent APCs from providing this important

medication to their patients at all.

      These rulings ignore that APCs are crucial providers of reproductive health

care and are as qualified to provide and successful in providing medication

abortion as physicians, if not more so. In addition to regularly providing

medication abortion and aspiration abortion care, APCs provide care and perform

procedures that are far more complex than medication abortion. It is in part for

this reason that mainstream medical and public health groups overwhelmingly

support the provision of medication abortion by APCs.

      This Court should vacate the lower court’s preliminary injunction order.




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                                   ARGUMENT

I.    Advanced Practice Clinicians Must Satisfy Rigorous Education And
      Certification Requirements To Provide The Broad Scope Of Health
      Care They Routinely Provide.
      APCs, which include certified women’s health nurse practitioners and

certified nurse-midwives, are vital participants in the U.S. health care system and

are licensed to provide a broad range of health services consistent with their

heightened educational standards and rigorous certification and continuing

education requirements. For instance, APCs have prescriptive authority in every

state in the nation, including for controlled substances. See Am. Med. Ass’n, State

Law Chart: Nurse Practitioner Prescriptive Authority (2017), https://www.ama-

assn.org/sites/ama-assn.org/files/corp/media-browser/specialty%20group/arc/ama-

chart-np-prescriptive-authority.pdf. They are key providers of primary,

gynecological, maternity, acute, and chronic care across the country, including for

low-income patients and those living in rural and medically underserved areas.

      NPs provide an extensive range of health services, including diagnosing and

treating acute and chronic illnesses, prescribing and managing medications and

other therapies, providing immunizations, performing procedures, ordering and

interpreting lab tests and x-rays, coordinating patient care, and providing health

education. Am. Assoc. Nurse Prac., Discussion Paper: Scope of Practice for

Nurse Practitioners (revised 2022),


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https://storage.aanp.org/www/documents/advocacy/position-papers/Scope-of-

Practice.pdf. NPs dispense these essential health services in a wide variety of

practice areas, including family medicine, pediatrics, geriatrics, and women’s

health, among others. See Nat’l Governors Assoc., THE ROLE OF NURSE

PRACTITIONERS IN MEETING INCREASING DEMAND FOR PRIMARY CARE 4 (2012).

      NPs must satisfy rigorous educational and certification requirements. First,

NPs must obtain a registered nurse license and complete several years of graduate

education at the masters, post-masters, or doctoral level. Id. at 8. Second, in the

vast majority of states, they, like physicians, subsequently gain board certification. 2

Nat’l Governors Assoc., supra, at 8. Certification testing assesses the “applicant’s

knowledge and skill in diagnosing, determining treatments, and prescribing for

their patient population of focus.” Id.

      The women’s health nurse practitioner (“WHNP”) is prepared at the

master’s or doctoral level to provide holistic, client-centered primary care for

women from puberty through the adult lifespan, with a focus on common and



2
      In forty-seven states, NPs must receive a certification from a nationally
      recognized certified body; in the remaining three states (California, Kansas
      and New York), NPs must complete a board-approved master’s degree with
      similar course requirements to those accepted by one of the national
      certifying bodies. Am. Ass’n Nurse Pract., State Practice Environment,
      https://www.aanp.org/advocacy/state/state-practice-environment (last visited
      Apr. 28, 2023).

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complex gynecologic, sexual, reproductive, menopause-transition, and post-

menopause healthcare; uncomplicated and high-risk antepartum and postpartum

care; and sexual and reproductive healthcare for men. The education, certification,

and practice of the WHNP are congruent with the NP role and the women’s health

population focus. As a licensed health care provider, the WHNP functions within

the scope of practice rules and regulations established by and pursuant to the nurse

practice act in the state(s) in which the WHNP is licensed and works. The WHNP

provides care in outpatient, inpatient, community, and other settings. The WHNP

provides care independently and collaboratively as a member of the health care

team. The role of the WHNP includes providing consultation services to other

health care providers regarding the unique health care needs of women. The

WHNP provides leadership to improve women’s healthcare and health outcomes in

practice settings, healthcare systems, and communities. NPWH, Women’s Health

Nurse Practitioner: Guidelines for Practice and Education 2-3 (8th ed. 2022).

WHNPs maintain certification and recertify every three years through the National

Certification Board and are required to meet delineated continuing education

requirements.

      Like NPs, certified nurse-midwives (“CNMs”) offer a wide array of health

services: they provide comprehensive assessment, diagnosis, and treatment care;

prescribe medications, including controlled substances; admit, manage, and


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discharge patients; order and interpret laboratory and diagnostic tests; and provide

wellness education and counseling. See Am. College of Nurse-Midwives,

Definition of Midwifery and Scope of Practice of Certified Nurse-Midwives and

Certified Midwives, https://www.midwife.org/acnm/files/acnmlibrarydata/

uploadfilename/000000000266/Definition%20Midwifery%20Scope%20of%

20Practice_2021.pdf (last updated Dec. 2021). CNMs principally focus on the

provision of patient care during pregnancy, childbirth, and the postpartum period;

sexual and reproductive health; gynecologic health; and family planning services,

including preconception care. Id. CNMs also provide primary care for all ages,

including newborns, adolescents, and adults. Id.

      Education and certification requirements for CNMs are exacting. Following

completion of a bachelor’s degree and a graduate midwifery education program,

CNMs must pass a national certification exam to receive the designation of CNM

(a title conferred to those who have active RN credentials when they pass the

certification exam). Id. CNMs must continuously demonstrate that they meet the

Core Competencies for Basic Midwifery Practice of Amicus ACNM and are

required to practice in accordance with the ACNM Standards for the Practice of

Midwifery. Id. The ACNM competencies and standards are consistent with or

exceed the International Confederation of Midwives’ global midwifery

competencies and standards. Id. CNMs must be recertified every five years


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through the American Midwifery Certification Board and are required to meet

delineated continuing education requirements. Id. The rigorous education and

certification requirements for NPs and CNMs belie any notion that these groups of

accomplished health professionals are unqualified to provide medication abortion.

II.   Advanced Practice Clinicians Provide Safe And Effective Abortion
      Care.
      In 2016, when the FDA was reassessing risk mitigation measures for

mifepristone, it considered “data from over 3,200 women in randomized controlled

trials and data on 596 women in prospective cohorts comparing medical abortion

care by” APCs with that provided by physicians, all of which “clearly

demonstrate[d] that efficacy is the same,” if not better, with APCs compared to

physicians. ECF No. 28-1, Defs.’ Opp. to Pls.’ Mot. for Prelim. Inj. Ex. 1A at 48.

And, like physicians, APCs also regularly provide safe and effective aspiration

abortions, including if necessary as follow-up care after a medication abortion.

Additionally, APCs improve access to medication abortion, enabling people to

access it earlier, when it is even more safe and effective. Given the overwhelming

body of scientific evidence before it, the FDA unsurprisingly removed conditions

restricting APCs’ ability to be certified prescribers of mifepristone.




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      A.     Advanced Practice Clinicians Achieve the Same, or Better, Health
             Outcomes as Physicians When Providing Medication Abortion.
      Peer-reviewed studies have long established that APCs provide medication

abortions as safely and effectively as physicians, if not more so. Indeed, after a

comprehensive review of medical literature on the safety of abortion, the National

Academies of Science, Engineering, and Medicine, the non-partisan, non-

governmental institution set up to advise the nation on issues related to those

disciplines, concluded that “[b]oth trained physicians (OB/GYNs, family medicine

physicians, and other physicians) and APCs (physician assistants, certified nurse-

midwives, and nurse practitioners) can provide medication and aspiration abortions

safely and effectively.” NAT. ACAD. OF SCI., ENG’G, AND MED., THE SAFETY AND

QUALITY OF ABORTION CARE IN THE UNITED STATES 14 (2018),

https://nap.nationalacademies.org/catalog/24950/the-safety-and-quality-of-

abortion-care-in-the-united-states; see also Sharmani Barnard et al., Doctors or

mid-level providers for abortion, COCHRANE DATABASE SYS. R. (2015)

(concluding that there was no statistically significant difference in risk of failure

for medication abortions performed by APCs compared with physicians in

comparative review of studies assessing medication abortion outcomes).

      In fact, some research shows that APCs may provide medication abortions

with greater efficacy and patient acceptability than physicians. For example, one

of the studies cited by the FDA in connection with the 2016 REMS review was a

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2015 randomized study of 1180 women who received medication abortions, which

concluded that nurse-midwives’ provision of medication abortion had “superior

efficacy” over that provided by physicians. See H. Kopp Kallner & R. Gomperts et

al., The Efficacy, Safety and Acceptability of Medical Termination of Pregnancy

Provided by Standard Care by Doctors or by Nurse-midwives: A Randomised

Controlled Equivalence Trial, 122 BJOG: AN INT’L J. OF OBSTETRICS AND

GYNECOLOGY 510, 515 (2014); ECF No. 28-1, 48. The study found that 99% of

the 481 women treated by nurse-midwives did not require further intervention (i.e.,

follow-up aspiration or surgery to complete the abortion), and 95.8% experienced

no complications following the medication abortion (compared to 97.4% and

93.5%, respectively, for women treated by physicians). 3 Id. at 514. Moreover,

women that met with nurse-midwives were significantly more likely to express a

preference for nurse-midwives if they ever required another medication abortion in

the future. Id.

      Similarly, another FDA-cited randomized study of 1295 women who

received medication abortions found that abortions provided by government-

trained, certified nurses and auxiliary nurse midwives did not pose any higher risk

of failure or incomplete abortions compared to those provided by physicians. Dr.


3
      None of the 1180 women participating in the study experienced any serious
      complications, across provider groups. Id. at 513.

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IK Warriner et al., Can midlevel health-care providers administer early medical

abortion as safely and effectively as doctors? A randomised controlled equivalence

trial in Nepal, 377 LANCET 9772, 1155-61 (2011); ECF No. 28-1, 48. In fact,

97.3% of the medication abortions provided by certified nurses or auxiliary nurse

midwives were completed without further intervention, as compared to 96.1% of

those provided by physicians. Id. at 1155. A later review of data collected in that

same study found that of the women who received care from certified nurses and

auxiliary nurse midwives, 38% reported being highly satisfied with their care and

62% reported being satisfied, reflecting a 100% satisfaction rate, compared to

35%, 64%, and 99% for physicians, respectively. Anand Tamang et al.,

Comparative satisfaction of receiving medical abortion service from nurses and

auxiliary nurse-midwives or doctors in Nepal: results of a randomized trial, 14

REPRODUCTIVE HEALTH 176 (2017).4

      Further, APCs working with physicians often find themselves in a position

of leadership, educating the physicians about medication abortion or being asked to

take the lead on patients who are under a physician’s care. A 2022 qualitative

study of NPs who provide medication abortion in Canada found that NPs


4
      Significantly, there is a conspicuous but telling absence of studies or
      empirical data even suggesting that medication abortion in states that
      prevent APCs from providing this care is any more safe or effective than in
      states that do not.

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commonly found themselves “educating physician colleagues about mifepristone.”

Andrea Carson et al., Nurse practitioners on ‘the leading edge’ of medication

abortion care: A feminist qualitative approach, 79 J. ADV. NURSING 686, 690

(2023). One NP who participated in the study explained that she provided a

number of physician-attended information sessions and held one-on-ones to answer

physician questions, and that she understood “that [her] role was to try to teach [the

physicians]” about medication abortion. Id. at 690-91. “There’s a lack of

[provider] knowledge [about medication abortion],” she explained, but it’s “been a

lot better since I’ve been able to inform them” and “orient them toward the best

treatment for the patient.” Id. (alteration in original).

      B.     Advanced Practice Clinicians Regularly and Safely Provide
             Aspiration Abortions, Just as Physicians Do.
      Advanced practice clinicians also safely and effectively provide aspiration

abortions. Aspiration abortion involves the dilation of the cervix and the use of a

curette to remove the uterine contents through gentle suction; the identical

procedure is used to evacuate a patient’s uterus in the event of an incomplete

miscarriage. See, e.g., Kate Coleman-Minahan et al., Interest in Medication and

Aspiration Abortion Training Among Colorado Nurse Practitioners, Nurse

Midwives, and Physician Assistants, WOMEN’S HEALTH ISSUES 167, 169 (2020);

Amy J. Levi & Tara Cardinal, Early Pregnancy Loss Management for Nurse

Practitioners and Midwives, WOMEN’S HEALTHCARE: A CLINICAL JOURNEY FOR

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NPS 43, 44 (2016). Aspiration abortion may be performed to terminate a

pregnancy or as follow-up care in the rare instance of a failed medication abortion.

Am. Coll. Obstetricians and Gynecologists, Medication Abortion Up to 70 Days of

Gestation Practice Bulletin (2020), https://www.acog.org/clinical/clinical-

guidance/practice-bulletin/articles/2020/10/medication-abortion-up-to-70-days-of-

gestation.

      The Court’s prior panel suggested in its April 12, 2023 Order that

emergency room physicians would be responsible for providing aspiration

abortions in the unlikely event such care is needed following a medication

abortion. ECF No. 183-2 at 13-14. In so doing, it incorrectly assumed that APCs

cannot safely and effectively perform this procedure (for abortion and/or

miscarriage care). That is demonstrably wrong, and evidence confirms that APCs

provide aspiration abortion with the same safety and efficacy as physicians.

      For example, in one study, researchers compared 5,812 aspiration

procedures performed by physicians with 5,675 aspiration procedures performed

by APCs and physician assistants over a span of four years. See Tracy A. Weitz et

al., Safety of Aspiration Abortion Performed by Nurse Practitioners, Certified

Nurse Midwives, and Physician Assistants Under a California Legal Waiver, 103

AM. J. PUB. HEALTH 454, 457 (2013). The study concluded that abortion “care

provided by newly trained NPs, CNMs, and PAs was not inferior to that provided


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by experienced physicians.” Id. at 458. With regard to major complications, the

study found that there was no significant difference in terms of risk between

provider groups. Id. at 459. The results “confirm[ed] existing evidence from

smaller studies that the provision of abortion[s] by [NPs, CNMs, and PAs] is safe

and from larger international and national reviews that have found these clinicians

to be safe and qualified health care providers.” Id.; see also Eva Patil & Blair

Darney et al., Aspiration Abortion with Immediate Intrauterine Device Insertion:

Comparing Outcomes of Advanced Practice Clinicians and Physicians, 61 J.

MIDWIFERY & WOMEN’S HEALTH 325, 329 (2016) (finding no clinically significant

differences between aspiration abortions followed by IUD insertions performed by

physicians or by APCs).

      C.     The Ability of Advanced Practice Clinicians to Prescribe
             Mifepristone Improves Already Exceedingly Safe Abortion Care.
      Although abortion is safe throughout pregnancy, safety increases the earlier

the care is provided. ECF No. 28-2, Defendants’ Opposition To Plaintiffs’ Motion

For A Preliminary Injunction Ex. 2 at 7. It is no surprise, then, that participation

by trained APCs in abortion care improves both patient safety and overall

outcomes, as it allows early diagnosis and management of unintended pregnancies

and integrated abortion and early pregnancy care, thereby reducing delays and

unnecessary referrals. D. Taylor et al., Advanced practice clinicians as abortion



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providers: preliminary findings from the California primary care initiative, 80

CONTRACEPTION 2, 199 (2009).

       APCs are, and will likely continue to be, easier to access than physicians for

health care. Demand for health care is projected to continue to outpace supply.

Significantly, however, the number of physicians is expected to increase annually

by only 1.1% from 2016-2030, while the number of APCs is expected to increase

more rapidly, with a predicted 6.8% increase in NPs annually during that same

period. David I. Auerbach, Douglas O. Staiger, and Peter I. Buerhaus, Growing

Ranks of Advanced Practice Clinicians — Implications for the Physician

Workforce, 378 N. ENGL. J. MED. 25, 2359 (2018); see also Tim Dall et al., The

Complexities of Physician Supply and Demand: Projections from 2018 to 2030,

ASSOCIATION OF AMERICAN MEDICAL COLLEGES (2020). Thus, the relative

availability of APCs as compared to physicians means that patients seeking

medication abortion can access professional health care earlier, thus lowering

already low complication rates.

III.   Advanced Practice Clinicians Regularly Provide Health Care, Including
       Childbirth Care, That Is Equally Or More Complex Than Medication
       Abortion.
       As part of their everyday practice, APCs routinely provide health care

services that are comparable to or more complex than medication abortion. These

services include reproductive health-related care, including aspiration abortions


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and miscarriage management, and non-reproductive health-related procedures.

APCs also regularly prescribe controlled substances and assist in complicated

surgeries and medical procedures. Moreover, studies have demonstrated that

obstetrical care (including labor and delivery) provided by APCs actually results in

better outcomes than that provided by physicians despite the serious risks

associated with such care, underscoring APCs’ excellent provision of complex care

to patients.

       A.      Medication Abortion Is More Straightforward Than Much of the
               Health Care Provided by APCs.
       APCs routinely provide health care, including reproductive health-related

care, that is equally or more complicated than medication abortion. Miscarriage

treatment provided by APCs frequently calls for the use of the same course of

medication used in medication abortion (mifepristone followed by misoprostol).

See Am. College of Obstetricians and Gynecologists, Early Pregnancy Loss

Practice Bulletin (2018), https://www.acog.org/clinical/clinical-guidance/practice-

bulletin/articles/2018/11/early-pregnancy-loss. Further, as discussed above, APCs

perform aspiration procedures both for abortion and miscarriage management.

See, e.g., Weitz, et al., supra, at 457-58; Levi & Cardinal, supra, at 44.

       Reproductive health APC services also often involve the insertion and

removal of intrauterine contraceptive devices (“IUDs”) and other contraceptive

implants and performing endometrial biopsies. Courtney B. Jackson, Expanding

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the Pool of Abortion Providers: Nurse-Midwives, Nurse Practitioners, and

Physician Assistants, WOMEN’S HEALTH ISSUES 21-3S, S42 (2011); see also Am.

Pub. Health Ass’n, PROVISION OF ABORTION CARE BY ADVANCED PRACTICE

NURSES AND PHYSICIAN ASSISTANTS (2011). Inserting and removing an IUD

involves placing an instrument through the cervix, and complicated removals may

necessitate cervical dilation. See Aimee C. Holland & Brandi Shah et al.,

Preparing for Intrauterine Device Consults and Procedures, WOMEN’S

HEALTHCARE 39 (2020). All of these procedures exceed the complexity involved

in medication abortion.

       APCs also provide non-reproductive health care services that are far more

complex than medication abortion, including neuraxial anesthesia, central line

insertions, arterial line insertions, intubations, chest tube insertions, surgical first

assistance, colonoscopies, and endoscopies. APCs with Drug Enforcement

Administration licenses can also prescribe controlled substances, which are

potentially dangerous and addictive and thus carry greater risk than the

medications used in medical abortions. See U.S. Dep’t of Justice, Diversion

Control Division, Mid-Level Practitioners Authorized by State, https://www.

deadiversion.usdoj.gov/drugreg/practioners/index.html (last visited Apr. 25, 2023).

They also provide vital assistance in complex specialist procedures, including

orthopedic surgeries, cardiology procedures, and plastic surgery. See Grant R.


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Martsolf et al., Employment of Advance Practice Clinicians in Physician Practice,

178 JAMA INTERN. MED. (2018), https://www.ncbi.nlm.nih.gov/pmc/articles/

PMC6126674/.

      APCs provide these health care services, all of which are akin to or even

more complicated than medication abortion, as a routine part of their everyday

practice. Given that reality, there is no principled basis for disallowing APCs from

continuing to independently prescribe mifepristone, where permitted by state law,

as they have successfully done since 2016.

      B.     Advanced Practice Clinicians Provide Prenatal and Labor Care
             That Is as Safe and Effective, If Not More So, As the Care
             Provided by Physicians.
      Childbirth is far more dangerous to women than abortion, and APCs

routinely attend and manage deliveries. Significantly, studies comparing the

outcomes of prenatal and labor care provided by APCs and physicians demonstrate

that care provided by APCs is often more effective than care provided by

physicians. See, e.g., Y. Tony Yang, Laura B. Attanasio, and Katy B.

Kozhimannil, State Scope of Practice Laws, Nurse-Midwifery Workforce, and

Childbirth Procedures and Outcomes, 26 WOMEN’S HEALTH ISSUES 3 (2016)

(finding that women in states with autonomous practice laws for nurse-midwives

have lower rates of cesarean delivery, preterm births, and low birth weight, as

compared to women in states without such laws).


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      For example, one study comparing the outcomes of midwife- and

obstetrician-provided care in low-risk pregnancies found that midwife care resulted

in “less intervention in labor, higher rates of physiologic birth, and similar hospital

length of stay” as compared to physician-provided care. Vivienne Souter et al.,

Comparison of Midwifery and Obstetric Care in Low-Risk Hospital Births, 134

OBSTETRICS & GYNECOLOGY 5 (2019). The study found that care provided by

midwives lowered the risk of caesarian delivery in patients who had no prior births

by 30% and in patients who had had at least one prior birth by 40%. Id. Another

similar study found that women receiving maternal and neonatal care from a

midwife were at a lower risk of cesarean and preterm birth and did not have any

increased odds of neonatal intensive care admissions, neonatal deaths, or severe

maternal morbidity. Yiska Lowenberg Weisband et al., Birth Outcomes of Women

Using a Midwife versus Women Using a Physician for Prenatal Care, 63 J. OF

MIDWIFERY & WOMEN’S HEALTH 399 (2018); see also Mary Huynh, Provider

Type and Preterm Birth in New York City Births, 2009-2010, 25 J. OF HEALTH

CARE FOR THE POOR AND UNDERSERVED, 1520 (2014) (finding that “preterm birth

was significantly lower for women who received care from a midwife led model

than for those with a physician led model (2.8% vs 4.6%)”).

      With respect to NPs, one study of women at high risk of delivering low-

birth-weight infants found notably better outcomes and rates of satisfaction for


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those receiving prenatal care from NPs at home than from physicians at hospital

clinics. Dorothy Brooten et al., A Randomized Trial of Nurse Specialist Home

Care for Women with High-Risk Pregnancies: Outcomes and Costs, 7 AM. J. OF

MANAGED CARE 8, 793 (2008). The study found a 2% infant mortality rate and

31% preterm delivery rate where care was provided by NPs, as compared with 9%

and 41%, respectively, where care was provided by physicians. Id. at 797.

      As with abortion care, physicians themselves recognize the significant

benefits of allowing APCs to provide women’s health care. Physicians in the study

comparing outcomes for women at high risk of delivering low-birth-weight infants

actually “approached the APNs [advanced practice nurses] with a patient they

believed needed the [APN-led care] program and the APN expertise; the APNs had

to remind them that this was a randomized controlled trial.” Id. at 802.

IV.   Mainstream Medical And Public Health Groups Overwhelmingly
      Support The Provision Of Medication Abortion Care By APCs.
      Major medical and public health groups support the provision of medication

abortions by APCs as a means of providing greater access to qualified health care

providers.

      The American Public Health Association (“APHA”) is the largest

organization of public health professionals dedicated to addressing public health

issues and public health policies backed by science. For more than a decade,

APHA has recommended that appropriately trained and competent nurse

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practitioners and certified nurse-midwives be permitted to provide medication and

aspiration abortion. See Am. Pub. Health Ass’n, Provision of Abortion Care by

Advanced Practice Nurses and Physician Assistants (2011), https://www.apha.org/

policies-and-advocacy/public-health-policy-statements/policy-database/

2014/07/28/16/00/provision-of-abortion-care-by-advanced-practice-nurses-and-

physician-assistants. APHA notes that the Institute of Medicine Committee on the

Future of Primary Care and the Patient Protection and Affordable Care Act and the

Health Care and Education Reconciliation Act (known together as the Affordable

Care Act of 2010) have defined NPs and CNMs as “primary care clinicians.” Id.

APHA also cites evidence to conclude that “these clinicians are well positioned

within the health care system to address women’s needs for comprehensive

primary care and preventive reproductive health services that include abortion

care.” Id.

      The American College of Obstetricians and Gynecologists (“ACOG”) is the

leading professional organization of physicians specializing in obstetrics and

gynecology. ACOG recommends “support[ing] . . . clinical training for residents

and advanced practice clinicians in abortion care in order to increase the

availability of trained abortion providers.” Am. Coll. of Obstetricians and

Gynecologists, Abortion Training and Education, Committee Opinion No. 612

(2014, reaffirmed 2022), https://www.acog.org/Clinical-Guidance-and-


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Publications/Committee-Opinions/Committee-on-Health-Care-for-Underserved-

Women/Abortion-Training-and-Education. ACOG also has called for the cease

and repeal of “requirements that only physicians or obstetrician-gynecologists may

provide abortion care . . . .” Id.

      The American Medical Women’s Association (“AMWA”) is an organization

that functions at the local, national, and international level to advance women in

medicine and improve women’s health, by providing and developing leadership,

advocacy, education, expertise, mentoring, and strategic alliances. AMWA has

pledged to “work to increase the number of abortion providers by supporting

initiatives to improve and increase training for medical students, residents and

physicians in the full range of abortion procedures, and to add adequately trained

Nurse-Midwives, Nurse Practitioners and Physician Assistants to the pool of

potential abortion providers.” Am. Med. Women’s Ass’n, Position Paper on

Principals of Abortion & Access to Comprehensive Reproductive Health Services,

https://www.amwa-doc.org/wp-content/uploads/2018/05/Abortion-and-Access-to-

Comprehensive-Reproductive-Health-Services.pdf.

      The positions of these leading, mainstream medical and public health

organizations reflect and support the recommendations that organizations

representing APCs have long asserted in terms of APCs’ ability to provide abortion

care. For example, since 1991, amicus NPWH has maintained that abortion care is


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within women’s health nurse practitioners’ scope of practice. Washington, DC,

National Abortion Federation, SYMPOSIUM REPORT: STRATEGIES FOR EXPANDING

ABORTION ACCESS: THE ROLE OF PHYSICIAN ASSISTANTS, NURSE PRACTITIONERS,

AND NURSE-MIDWIVES IN PROVIDING ABORTIONS         22 (1997). This policy has been

reaffirmed to the present day, with NPWH stating in their guidelines “[t]he breadth

and depth of a WHNP program curriculum in these areas prepares the [NP] with

distinct competencies to provide advanced assessment, diagnosis, and

management” including the ability to “[p]rovide medication abortion.” NPWH,

Guidelines for Practice and Education, supra, at 13-14; see also NPWH,

Reproductive Rights Policy Summary (2022), https://cdn.ymaws.com/npwh.org/

resource/resmgr/positionstatement/npwh_reproductive_rights_pol.pdf.

      Similarly, in 2019, amicus ACNM updated and approved a position

statement on “Midwives as Abortion Providers” that affirmed that “medication

abortion may be safely provided by trained advance practice clinicians (APCs),

including midwives.” Am. Coll. of Nurse-Midwives, Midwives as Abortion

Providers (2019), at 1, http://www.midwife.org/acnm/files/acnmlibrarydata/

uploadfilename/000000000314/PS-Midwives-as-Abortion-Providers-FINAL-

August-2019.pdf.

      The views of the professional medical, health, and nursing organizations

above are shared by global health organizations. Since at least 2012, the World


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Health Organization, an agency of the United Nations tasked with promoting the

health of people internationally, has emphasized the importance of having medical

professionals other than physicians provide abortion care. In a policy guidance

paper citing heavily to medical studies, the WHO noted that “[s]ince the advent of

vacuum aspiration and medical abortion, [] abortion can be safely provided by a

wide range of health workers in diverse settings” and recommended that APCs be

permitted to deliver medication abortion using mifepristone plus misoprostol, or

misoprostol alone, at up to 12 weeks gestational age. World Health Organization,

Abortion Care Guideline, at 59 (2022), https://www.who.int/publications/i/

item/9789240039483.

      Additionally, the International Confederation of Midwives (“ICM”), a

multinational organization representing 150 midwives’ associations in over 100

countries, has consistently endorsed midwives providing abortion care. ICM

expressly stated in a position paper that “ICM affirms that a woman who seeks or

requires abortion-related services is entitled to be provided with such services by

midwives.” Int’l Confed. of Midwives, Position Statement: Midwives’ Provision

of Abortion-Related Services, at 1 (2008, reaffirmed 2014),

https://www.internationalmidwives.org/assets/files/statement-

files/2018/04/midwives-provision-of-abortion-related-services-eng.pdf.




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      The message of these mainstream professional and public health

organizations is clear: the provision of medication abortion involving mifepristone

falls well within APCs’ scope of practice. Promoting women’s health, which

Amici aim to do, is best achieved by allowing APCs to provide medication abortion

as they have been doing for many years. In short, the court below erred when it

assumed that allowing physicians but not APCs to prescribe mifepristone is a

“restriction[] protect[ing] women and girls.” ECF No. 137, Memorandum Opinion

and Order at 59 (Apr. 7, 2023).

                                  CONCLUSION
      Turning back the clock to prohibit APCs from being certified mifepristone

prescribers, or otherwise reducing access to mifepristone, would provide no health

or safety benefits. Indeed, doing so would be more likely to increase negative

outcomes for women seeking abortion. Thus, for all the reasons set forth herein,

Amici respectfully asks the Court to reverse the district court’s order.

May 1, 2023

                                               Respectfully Submitted,

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                       CERTIFICATE OF COMPLIANCE
      This brief complies with the type-volume limitations of Fed. R. App. P.

29(a)(5) and 32(a)(7)(A) because it contains 5,233 words, excluding the parts of

the brief exempted by Fed. R. App. P. 32(f). This motion complies with the

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Dated: May 1, 2023

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                         CERTIFICATE OF SERVICE
      I hereby certify that on May 1, 2023, I electronically filed the foregoing

document using the Court’s CM/ECF system. Because all parties in the case are

CM/ECF users, service will be accomplished through the CM/ECF system.

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